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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN DIABETES ASSOCIATION, :                        CIVIL ACTION
                                :
               Plaintiff,       :
                                :
        v.                      :                       NO. 2:13-cv-03720-MSG
                                :
THE FRISKNEY FAMILY TRUST, LLC, :
et al.,                         :
                                :
               Defendants.      :


                     NOTICE OF FILING OF REGISTRAR CERTIFICATE


       Plaintiff American Diabetes Association, by and through its undersigned counsel, hereby

gives notice of the filing of the attached Registrar Certificate through which GoDaddy.com, LLC

(“GoDaddy”) tenders to the Court control and authority over the registration and use of the

domain names AMERICANDIABETES.COM and AMERICANDIABETESUPPLIES.COM.

       This Civil Action relates to, in part, Defendants’ registration and use of the domain

names AMERICANDIABETES.COM and AMERICANDIABETESUPPLIES.COM and the

infringement of Plaintiff’s mark AMERICAN DIABETES ASSOCIATION caused thereby.

(See generally Pl.’s Compl. [D.I. 1].)

       As contemplated by the Anticybersquatting Consumer Protection Act, codified, as

amended, in 15 U.S.C. §§ 1114, 1117 and 1125, and as further provided in GoDaddy’s terms of

service agreement with its registrants and the dispute policies incorporated therein, GoDaddy has

provided the attached Registrar Certificate, which tenders control and authority over the

registration   and    use   of   the     domain       names   AMERICANDIABETES.COM           and

AMERICANDIABETESUPPLIES.COM, to the Court.


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       GoDaddy, by its Registrar Certificate, shall maintain the status quo ante with respect to

the above-referenced domain names and will not permit any future transfer, suspension, or other

modification of the domain name registrations until further order of this Court.

                                      Respectfully submitted,

                                      CAESAR, RIVISE, BERNSTEIN,
                                      COHEN & POKOTILOW, LTD.

Dated: July 10, 2013                  By     /SGuerriero/
                                             Manny D. Pokotilow (PA ID# 13310)
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                                             Tel: (215) 567-2010

                                             Attorneys for Plaintiff
                                             American Diabetes Association



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the within Notice of Filing of Registrar Certificate
is being electronically filed with the Clerk of Court via the ECF for the U.S. District Court for
the Eastern District of Pennsylvania on July 10, 2013. The undersigned further certifies that true
copies of the same are being served upon the parties of record, on this same day, by electronic
mail and first class mail, postage prepaid:

Robert L. Friskney                  Robert L. Friskney              Robert L. Friskney
The Friskney Family Trust, LLC      MedVantage Plus, LLC            1605 E Classical Boulevard
1605 E Classical Boulevard          6560 W. Rogers Circle #19       Delray Beach, FL 33445
Delray Beach, FL 33445              Boca Raton, FL 33487            <rfriskney@gmail.com>
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                                                     /SGuerriero/
                                                     Salvatore Guerriero

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